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Case: 1:13-cv-09067 Document #: 3-1 Filed: 12/19/13 Page 5 of 14 PageID #:10
Case: 1:13-cv-09067 Document #: 3-1 Filed: 12/19/13 Page 6 of 14 PageID #:11
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